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EXHIBIT O
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   COr,1!1/lONW~LTH. OF                                                                                                    POLICE. CRIMINAL CO.MPLAINT
  PENNSYLVAt:,llA
  COUNTY OF:LYCOMIN°G
  Maglstatlal DlslrlctNumiiar,. 29,3-04
  MDJ, Hon. WILLIAM C. SOLOMON
  Address: 1965 LYCOMING tRE.E.R RD
  WILLIAMSPORT, PA 17701
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                                              FAX No. 570 327 2426          P. 005



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  Acts oftha:accuse_d associated with-this Offense:




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                                      .Affidavit of Probable Cause

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